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                                                                  UNITED STATES DISTRICT COURT
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                                                               NORTHERN DISTRICT OF CALIFORNIA
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                                  12
Northern District of California
 United States District Court




                                  13                                                 MDL No. 2741
                                        IN RE: ROUNDUP PRODUCTS
                                  14    LIABILITY LITIGATION
                                                                                     Case No.: 3:16-md-02741-VC
                                  15
                                                                                     PLAINTIFF’S OPPOSITION TO
                                  16    Richard Canning, et al. v. Monsanto Co.,     MONSANTO’S MONSANTO COMPANY’S
                                                                                     MEMORANDUM IN SUPPORT OF ITS
                                  17    Case No. 3:19-cv-04230-VC                    MOTION TO EXCLUDE TESTIMONY
                                                                                     OF DR. D. BARRY BOYD
                                  18
                                                                                     Hearing:
                                  19                                                 Date: March 1, 2024
                                                                                     Time: 10:00am
                                  20                                                 Place: San Francisco Courthouse,
                                                                                              Courtroom 4 –17th Floor
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                                   1                                           INTRODUCTION

                                   2          Monsanto’s attempts to paint Dr. Boyd’s opinions as unreliable and inadmissible are the

                                   3   product of their own cherry-picked, out-of-context soundbites from the deposition they conducted

                                   4   in this case. Even a cursory review of Dr. Boyd’s deposition testimony (“Boyd Depo.”)(attached

                                   5   hereto as Exhibit A) and the bases for his opinions as to the cause of Mr. Canning’s DLBCL

                                   6   firmly establishes that Dr. Boyd is well qualified to offer his opinions and that he employed a

                                   7   time-tested and validated methodology by which to reach those opinions: a proper differential

                                   8   diagnosis: “Q. . . . [Y]ou conducted a differential diagnosis in this case - - which you did, correct,

                                   9   that differential diagnosis? A. A differential diagnostic ideology, is that – that’s what you mean;

                                  10   right? Q. Yes, sir. . . . . A. Yes.” Boyd Depo. at p.56. Furthermore, nearly every argument

                                  11   Monsanto makes to the contrary goes to weight and not admissibility; the former is of course not

                                  12   a basis to exclude the testimony of an otherwise well-qualified expert. See City of Pomona v.
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                                  13   SQM N. Am. Corp., 750 F.3d 1036, 1044 (9th Cir. 2014) (“Challenges that go to the weight of the

                                  14   evidence are within the province of a fact finder, not a trial court judge.”); Milward v. Acuity

                                  15   Specialty Products Group, Inc., 639 F.3d 11, 22 (1st Cir. 2011) (the Court should not “[take]

                                  16   sides on questions that are currently the focus of extensive scientific research and debate—and on

                                  17   which reasonable scientists can clearly disagree.”).

                                  18          Dr. Barry Boyd is a board-certified medical oncologist and an Assistant Professor of

                                  19   Clinical Medicine (Medical Oncology) at Yale University School of Medicine. He has 38 years

                                  20   of hematological and oncological experience. Further, Dr. Boyd’s clinical practice and academic

                                  21   research focus on lymphoma, and he has extensive experience treating patients with NHL. Dr.

                                  22   Boyd has published both books and peer-reviewed journal articles about lymphoma, and he has

                                  23   conducted numerous clinical trials regarding lymphoma treatment. Dr. Boyd has been rated as

                                  24   one of America’s Best Doctors in Medical Oncology consistently from 2008 to present, and he is

                                  25   an Editorial Board Member for Integrative Cancer Therapies. See Dr. Boyd CV, attached hereto

                                  26   as Exhibit B.

                                  27          The thrust of Monsanto’s Motion to Exclude Opinions of Dr. Barry Boyd (“Monsanto

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                                   1   Motion”) is that Dr. Boyd did not have a basis to “rule in” Roundup as a cause of Mr. Canning’s

                                   2   DLBCL or “rule out” other risk factors for DLBCL and, therefore, Dr. Boyd’s opinion that Mr.

                                   3   Canning’s exposure to Roundup was a substantial contributing factor to his DLBCL is unreliable.

                                   4   This simply is not the case. The evidence is clear that Dr. Boyd addressed the “rule out” issues

                                   5   head on, was aware of them, and did not consider them a causative risk factor. Monsanto cannot

                                   6   make any argument that these details were ignored and instead continues to argue that they were

                                   7   not given the weight Defendants’ attorneys believe they deserve. Arguments and assertions by

                                   8   Monsanto’s attorneys do not constitute evidence, and do not trump the opinions of actual

                                   9   scientists at the top of their field such as Dr. Boyd whose opinions have been developed after

                                  10   decades of scientific training, research, and experience.

                                  11                                         LEGAL STANDARD

                                  12          Rule 702 requires that reliable Expert testimony assist the trier of fact in either
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                                  13   “understand[ing] the evidence” or “determin[ing] a fact in issue,” and that the expert “be

                                  14   sufficiently qualified to render the opinion.” Primiano v. Cook, 598 F.3d 558, 563 (9th Cir. 2010,

                                  15   as amended (Apr. 27, 2010). This testimony “need only be relevant, and need not establish every

                                  16   element that the plaintiff must prove” to be admissible. Id. “The relevancy bar is low, demanding

                                  17   only that the evidence ‘logically advances a material aspect of the proposing party’s case.’”

                                  18   Messick v. Novartis Pharms. Corp., 747 F.3d 1193, 1196 (9th Cir. 2014). The expert’s opinion

                                  19   must also be “the product of reliable principles and methods” and reflect a “reliable application of

                                  20   the principles and methods to the facts of the case.” Fed. R. Evid. 702. The court’s inquiry into

                                  21   whether an expert’s opinion is admissible is “flexible,” and should be “applied with a ‘liberal

                                  22   thrust’ favoring admission.” Hardeman v. Monsanto Co., 997 F. Supp. 3d 941, 960 (9th Cir.

                                  23   2021) quoting Wendell v. GlaxoSmithKline LLC, 858 F.3d 1227, 1232 (9th Cir. 2017); see also

                                  24   Messick v. Novartis Pharms. Corp., 747 F.3d 1193, 1196 (9th Cir. 2014).

                                  25          In the Ninth Circuit, doctors “enjoy a wide latitude in how they practice their art when

                                  26   offering causation opinions.” In re Roundup Prods. Liab. Litig., 2023 U.S. Dist. LEXIS 208059,

                                  27   19 (N.D. Cal. 2023), citing Pretrial Order No. 85, Dkt. No. 2799 at 5. A doctor is also not

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                                   1   required to “eliminate all other possible causes of a condition,” and may “rely on his or her

                                   2   extensive clinical experience as a basis for ruling out a potential of the disease.” Wendell, 858

                                   3   F.3d at 1237.

                                   4                                                  ARGUMENT
                                              I.       Dr. Boyd’s Opinions Are the Product of a Reliable Differential Diagnosis
                                   5                   Methodology.
                                   6
                                              Monsanto argues that Dr. Boyd did not apply a “reliable” differential diagnosis because
                                   7
                                       he did not “reliably rule in glyphosate as a possible cause of Mr. Canning’s DLBCL” or “provide
                                   8
                                       valid reasons for ‘ruling out’” alternative possible causes (Monsanto Motion at p.3, 8); causes
                                   9
                                       which Monsanto conveniently believes could also cause DLBCL.
                                  10
                                              First, as explained herein, Dr. Boyd did rule out other potential causes of Mr. Canning’s
                                  11
                                       DLBCL and explained how he did so at length in his deposition and report; that Monsanto does
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                                       not like the answers he gave is not proper focus of a motion to exclude his testimony.
                                  13
                                              Second, nothing in the cases cited by Monsanto regarding differential diagnoses conflicts
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                                       with Dr. Boyd’s approach in this case. As the court in In re Neurontin Mktg., Sales Pracs., &
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                                       Prod. Liab. Litig., No. 04-cv-10981-PBS (D. Mass. Aug. 14, 2009) made clear: “differential
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                                       diagnosis is a generally accepted technique and noting that the steps taken by a doctor performing
                                  17
                                       a differential diagnosis will ‘vary from case to case’ and that the ‘core of differential diagnosis is
                                  18
                                       a requirement that experts at least consider alternative causes.” Indeed, in Nuerontin, the court
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                                       discussed the plaintiff’s expert, his qualifications and his assessment of potential alternative
                                  20
                                       causes and found that, while the defense “pointed out some gaps and potential weaknesses in Dr.
                                  21
                                       Trimble's written report, Dr. Trimble has…demonstrated that he at least considered all reasonable
                                  22
                                       alternative causes and, for the most part, explained why he concluded that a given alternative
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                                       cause ‘was not the sole cause’….” In re Neurontin at 87. The court concluded that, “because Dr.
                                  24
                                       Trimble is amply qualified to render an opinion on the issue…the debate is one properly hashed
                                  25
                                       out through testimony at trial.” Id., citing Kumho Tire Co. v. Carmichael, 526 U.S. 137, 153
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                                       (1999) (the jury, not the court, should be the one to "decide among the conflicting views of
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                                       different experts").
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                                   1          Other courts in have reached the same result, holding that properly conducted differential

                                   2   diagnoses are admissible under the Daubert standard. See e.g. Clausen v. M/V New Carissa, 339

                                   3   F.3d 1049 (9th Cir. 2003); Westberry v. Gislaved Gummi AB, 178 F.3d 257 (4th Cir. 1999); Baker

                                   4   v. Dalkon Shield Claimants Trust, 156 F.3d 248 (1st Cir. 1998). Experts need not “address all

                                   5   possible causes, but ‘[o]bvious alternative causes need to be ruled out.” Hoefling v. U.S.

                                   6   Smokeless Tobacco Co., LLC, 576 F. Supp. 3d 262, 280 (E.D. Pa. 2021). This does not mean that

                                   7   a medical causation expert must “perform every possible test to confirm his opinion,” but the

                                   8   expert must “employ sufficient diagnostic techniques to have good grounds” for his conclusion.

                                   9   Id. (citations omitted). At the core of the differential diagnosis is the requirement that the expert

                                  10   consider alternative causes, and that is exactly what Dr. Boyd has done here.
                                                      a. Dr. Boyd Properly Relied on Dr. Herrick’s Report as a Basis for His Opinions on
                                  11                     the Amount of Roundup to Which Mr. Canning Was Exposed.
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                                              Monsanto argues that it was somehow inappropriate for Dr. Boyd to rely on the exposure
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                                       report done by plaintiffs’ exposure expert, Dr. Herrick. There is nothing improper about an expert
                                  14
                                       relying on another expert’s report and basing their own opinions, in part, on that report. As Dr.
                                  15
                                       Boyd is not an expert on exposure to occupational hazards such as Monsanto’s Roundup, it would
                                  16
                                       be improper for him to step outside the scope of his expertise and render an opinion on Mr.
                                  17
                                       Canning’s exposure to Roundup before performing his differential diagnosis. Many courts have
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                                       repeatedly held that experts may rely on each other’s’ opinions and reports when formulating
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                                       their own testimony. See People v. Campos, 32 Cal. App. 4th 304, 308 (1995), (“the expert
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                                       witness may state the reasons for his or her opinion, and testify that reports prepared by other
                                  21
                                       experts were a basis for that opinion.”); Asad v. Cont'l Airlines, Inc., 314 F. Supp. 2d 726, 741
                                  22
                                       (N.D. Ohio 2004) (“an expert's testimony may be formulated by the use of the facts, data and
                                  23
                                       conclusions of other experts.”).; Pulse Med. Instruments, Inc. v. Drug Impairment Detection
                                  24
                                       Servs., LLC, 858 F. Supp. 2d 505, 512 (D. Md. 2012) (“Courts in this circuit and across the
                                  25
                                       country have consistently held that an expert may rely on the work of others when preparing an
                                  26
                                       expert report, particularly when it is the sort of work that is reasonably relied upon by experts in
                                  27
                                       the relevant area of expertise”)
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                                   1          Based upon Dr. Herrick’s expert testimony regarding Mr. Canning’s potential 8-hour

                                   2   exposure days, Dr. Boyd proceeded to perform a differential diagnosis using Mr. Canning’s time

                                   3   exposed to the pesticide as a basis of how much Roundup he was potentially exposed to over his

                                   4   years of using the product. Monsanto goes on to claim that Dr. Boyd’s use of certain studies and

                                   5   datapoints “violates the weight of the evidence of review he purports to be applying,” (Monsanto

                                   6   Motion at p.5), again misunderstanding that the weight that expert reports and testimony carry are

                                   7   to be decided by the trier of fact rather than the court, and that the proposed weight of the

                                   8   evidence as purported by counsel is not a primary consideration in whether that evidence should

                                   9   be admitted.
                                                      b. Dr. Boyd Properly Considered and Properly Ruled Out “Potential” Alternative
                                  10                     Causes of Mr. Canning’s NHL.
                                  11
                                              Dr. Boyd did not ignore potential causes of Mr. Canning’s DLBCL and in fact performed
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                                       a comprehensive differential diagnosis, discussed at length in his deposition and report which
                                  13
                                       clearly establishes that he both conducted a thorough review of Plaintiff’s medical and social
                                  14
                                       history to determine whether there were other plausible causes of his illness. What Monsanto
                                  15
                                       characterizes as Dr. Boyd “casually dismiss[ing] potential alternative causes without any
                                  16
                                       scientific rigor to reach his preordained conclusion” (Monsanto Motion at p. 8) is in fact nothing
                                  17
                                       more than a laundry list of Monsanto’s attorneys’ disagreements over Dr. Boyd’s ultimate
                                  18
                                       conclusion that their product more likely than not contributed to Mr. Canning’s DLBCL. Dr.
                                  19
                                       Boyd was required to perform a differential diagnosis, which will “vary from case to case’ and []
                                  20
                                       the ‘core of differential diagnosis is a requirement that experts at least consider alternative
                                  21
                                       causes.” In re Neurontin. That is precisely what Dr. Boyd did here.
                                  22
                                                               i. Exposure to Other Chemicals and Herbicides
                                  23

                                  24          First, Monsanto’s argument about alleged other pesticides used during his time at R.F.

                                  25   Morse and Son is a red herring. In order for any other pesticide allegedly used at R.F. Morse and

                                  26   Son to be relevant to performing a differential diagnosis, there would have to be some evidence

                                  27   that Mr. Canning was actually exposed in a sufficient quantity to these pesticides during his time

                                  28   there. As Mr. Canning also worked with several other herbicides and insecticides during his time
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                                   1   working in various farming operations, namely Casoron, Devrinol, Bravo, Sevin, and Lorsban4E,

                                   2   Dr. Boyd addressed these in his report. See Boyd Report at p.34. Dr. Boyd determined that,

                                   3   because these chemicals were handled with proper PPE in a sealed closed container before being

                                   4   introduced into an irrigation pump, and that the irrigated vines were not touched until thoroughly

                                   5   dry, that Mr. Canning’s exposure to these chemicals was extremely limited, and thus “did not

                                   6   impart increased risk of developing his lymphoma.” Id. Monsanto argues that because Dr. Boyd

                                   7   did not discount his Roundup exposure significantly because he may have been wearing proper

                                   8   PPE, that his ruling out of these other pesticides renders his report entirely unreliable. See

                                   9   Monsanto Motion at p.8-9. However, this ignores the fact that the methods of application of these

                                  10   chemicals differ drastically. The chemicals that Dr. Boyd ruled out in his report were introduced

                                  11   via an irrigation pump that would disperse the chemicals to the plants directly, rather than

                                  12   requiring personal application by hand via a backpack sprayer, the main mode by which Mr.
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                                  13   Canning applied Roundup for decades. See Boyd Report at p.19. The significant differences

                                  14   between the potential personal exposure of an irrigation pump and a backpack sprayer mounted

                                  15   on Mr. Canning’s backpack cannot be understated and are certainly enough to allow Dr. Boyd to

                                  16   reasonably rule out these other chemicals from being likely causes of Mr. Canning’s disease.
                                                              ii. Family History of Cancer
                                  17

                                  18          Second, Monsanto argues that Dr. Boyd failed to “meaningfully consider Mr. Canning’s
                                  19   family history of cancer as an alternative cause of his NHL.” Monsanto Motion at p.10. Mr.
                                  20   Canning’s father’s prostate cancer is the only known history of cancer among his first-degree
                                  21   relatives and is also an extremely common form of cancer in men. See Boyd Report at p.32. As
                                  22   prostate cancer is generally accepted in the medical and scientific communities as not making a
                                  23   person more susceptible to developing NHL and Mr. Canning’s father was the only immediate
                                  24   family member with a history of cancer, Dr. Boyd properly ruled out Mr. Canning’s father’s
                                  25   diagnosis of prostate cancer as a contributing factor. See Boyd Depo. at p.96-97.
                                                             iii. Obesity
                                  26

                                  27          With regard to Mr. Canning’s weight, Dr. Boyd readily acknowledged that weight was a
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                                          PLAINTIFF’S OPPOSITION TO DEFENDANT’S MOTION TO EXCLUDE DR. BARRY BOYD
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                                   1   risk factor for NHL (Boyd Depo. at 75). Though obesity at certain levels has been associated with

                                   2   lymphoma and NHL, Dr. Boyd points out that different levels of obesity are more likely than

                                   3   others to contribute to the development of NHL. See Boyd Report at p.32. Associations between

                                   4   obesity and lymphoma become “increasingly evident with BMIs from 35 to 40, and these

                                   5   associations are modest at best.” Id. Because Mr. Canning’s BMI was 31 (mildly obese), and

                                   6   there was no evidence that his BMI had ever gone as high as 35 in his lifetime, Dr. Boyd

                                   7   appropriately ruled out obesity as a likely cause of Mr. Canning’s NHL in light of the other

                                   8   potential causes being more likely to have caused his NHL, namely Roundup. Id.
                                                             iv. Random Mutations
                                   9

                                  10          Lastly, Monsanto’s statement that Dr. Boyd failed to account for random mutations is
                                  11   completely false. Dr. Boyd did indeed testify that he considered random mutations (See Boyd
                                  12   Depo. at p.83-85) and explained how it factored into his opinions. When confronted with the
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                                  13   question of whether Mr. Canning’s NHL could have been caused simply by random mutations,
                                  14   Dr. Boyd pointed to the oversimplification that such a question proposes, as “there is no one who
                                  15   exists without an environment,” and that Mr. Canning’s substantial exposure to Roundup, a
                                  16   known contributor to the development of NHL, far outweighs the notion that his NHL may have
                                  17   simply developed on his own. See Id. Dr. Boyd thus did not ignore idiopathic causes; his opinion
                                  18   is that in the case of Mr. Canning, there is a large and known source of exposure (Roundup) that,
                                  19   to the exclusion of the other risk factors he carefully identified and reviewed, was a substantial
                                  20   contributing factor to Mr. Canning’s NHL.
                                  21          Regardless, Monsanto’s citations to caselaw regarding differential diagnoses and
                                  22   idiopathic diseases is misleading. Contrary to Monsanto’s assertions, differential diagnoses are
                                  23   appropriate even when there is a high rate of unknown causes (idiopathic) for a disease and where
                                  24   the expert cannot completely rule out idiopathic causes. The fact that a cause is not identified in
                                  25   most cases does not mean a cause cannot be identified in any cases. As explained in Wendell v.
                                  26   GlaxoSmithKline LLC, 858 F.3d 1227, 1235 (9th Cir. 2017):
                                                    The district court erred when it excluded Plaintiffs' experts' opinion testimony
                                  27
                                             because of the high rate of idiopathic [unknown] HSTCL and the alleged inability of
                                  28         the experts to rule out an idiopathic origin or IBD itself. We do not require experts
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                                              to eliminate all other possible causes of a condition for the expert's testimony to be
                                   1          reliable. Messick, 747 F.3d at 1199. It is enough that the proposed cause “be a
                                   2          substantial causative factor.” Id. This is true in patients with multiple risk factors,
                                              and analogously, in cases where there is a high rate of idiopathy . . .
                                   3                  Moreover, when an expert establishes causation based on a differential
                                              diagnosis, the expert may rely on his or her extensive clinical experience as a basis
                                   4          for ruling out a potential cause of the disease.
                                   5
                                              Further, Monsanto’s arguments have been repeatedly rejected in Roundup-NHL litigation.
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                                       As noted by Judge Smith in the Pilliod Roundup trial, “an expert can opine that a substance caused
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                                       an injury even when idiopathic causes are responsible for most of the similar injuries.” Pilliod
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                                       Order at 6; attached hereto as Exhibit C. Judge Chabbria similarly ruled in the Roundup MDL
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                                       litigation that expert testimony that “the exposure for these three plaintiffs was so significant that
                                  10
                                       their NHL should not be considered idiopathic” was admissible. In re Roundup, 358 F.Supp.3d at
                                  11
                                       961.
                                  12
Northern District of California




                                              Dr. Boyd performed a proper differential diagnosis—a well-established valid
 United States District Court




                                  13
                                       methodology—and determined that, in accordance with his diagnosis and years of training as a
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                                       medical professional, Mr. Canning’s exposure to Roundup was a substantial contributing factor to
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                                       the development of his NHL subtype, DLBCL. Monsanto’s arguments fail to properly attack the
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                                       reliability of Dr. Boyd’s, instead opting to argue over the weight of his findings and medical
                                  17
                                       opinions, which they will be free to do by cross examination during trial.
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                                                                                 CONCLUSION
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                                              For these reasons, the Court should deny Monsanto’s motion to exclude Plaintiff’s expert
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                                       Dr. Boyd because his opinions are reliable and admissible.
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                                          PLAINTIFF’S OPPOSITION TO DEFENDANT’S MOTION TO EXCLUDE DR. BARRY BOYD
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                                   1                                    CERTIFICATE OF SERVICE
                                               I HEREBY CERTIFY that on this 8th day of January, 2024, a copy of the foregoing was
                                   2
                                       filed with the Clerk of the Court through the CM/ECF system, which sent notice of the filing to
                                   3   all appearing parties of record.

                                   4
                                                                                                         /s/    David Bricker     .
                                   5                                                                     David Bricker

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Northern District of California
 United States District Court




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                                          PLAINTIFF’S OPPOSITION TO DEFENDANT’S MOTION TO EXCLUDE DR. BARRY BOYD
